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Filed 07/10/12 Page 1 of 2

Attorneys for Plaintiff
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION
UNITED STATES OF AMERICA, } No. CR 10-00827 LHK
)
Plaintiff, )
) NOTICE OF DISMISSAL
v. )
: )
ZHIQIANG ZHANG, )
a/k/a Michael Zhang, and )
YANMIN LI, )
)
Defendants.
)

 

With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the

United States Attorney for the Northern District of California dismisses Count Four and the

accompanying forfeiture allegation of the above-captioned Indictment, which charges the

defendants with Foreign Transportation of Stolen Property, in violation of Title 18, United States

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NOTICE OF DISMISSA
CR 10-00827 LHK

 
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Code, Sections 2314 and 2 with prejudice.
DATED: July 4 / JO a Respectfully submitted,

MELINDA HAAG
United States Attorney

 

MIRANDA KANE
Chief, Criminal Division

ORDER
Leave is granted to the government to dismiss Count Four and the accompanying |
forfeiture allegation in the above-captioned Indictment, which charges the defendants with
Foreign Transportation of Stolen Property, in violation of Title 18, United States Code, Sections

2314 and 2.

Date: 7A fle | aon He Vb,
LUCY H. KQH .

United States District Judge

 

 

 
